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9
     COUNSEL FOR PLAINTIFF
10   IMAGE PRO SOLUTIONS LLC
11
                            IN THE UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
13
      IMAGE PRO SOLUTIONS LLC,
14

15                           Plaintiff,
                                                              Case No. 4:23-cv-02679-HSG
16                   v.

17                                                      NOTICE OF VOLUNTARY DISMISSAL
      LIGHTFORM, INC.,
18
                             Defendant.
19
20                             NOTICE OF VOLUNTARY DISMISSAL

21          Plaintiff Image Pro Solutions, LLC (“Plaintiff”), by and through its undersigned attorneys
22   and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby voluntarily dismisses all claims in this
23
     action with prejudice against Defendant Lightform, Inc. (“Lightform” or “Defendant”). Prior to
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     the filing of this notice, Defendant has not filed an answer or a motion for summary judgment.
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                                 NOTICE OF VOLUNTARY DISMISSAL
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1           DATED: September 15, 2023                                      Respectfully submitted,
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                                                                   By: /s/ Hao Ni
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                                                                   COUNSEL FOR PLAINTIFF
14
                                                                   IMAGE PRO SOLUTIONS LLC
15

16
                                      CERTIFICATE OF SERVICE
17
             I hereby certify that on the 15th day of September, 2023, I electronically filed the foregoing
18   document with the clerk of the court for the U.S. District Court, Northern District of California,
19   Oakland Division, using the electronic case filing system of the court. A true and complete copy
     of the foregoing document has been served upon all counsel of record.
20
                                                                                         _/s/ Hao Ni
21                                                                                            Hao Ni
                                                                               Attorneys for Plaintiff
22                                                                     IMAGE PRO SOLUTIONS, LLC
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                                 NOTICE OF VOLUNTARY DISMISSAL
